Case 9:17-cv-81225-RNS Document 154 Entered on FLSD Docket 08/13/2019 Page 1 of 3



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 9:17-cv-81225-Scola/Matthewman

  KATHLEEN FORBES,
  LINDA RAY, JUDITH DANNEMAN, and
  EDNA REMINGTON,

           Plaintiffs,
  v.

  WAL-MART STORES, INC.,

        Defendant.
  _____________________/

                                               NOTICE OF FILING

           COMES Now Plaintiffs, KATHLEEN FORBES, LINDA RAY, and EDNA

  REMINGTON (hereinafter “Plaintiffs”), by and through their undersigned counsel, hereby gives

  Notice of Filing the following exhibit1:

           1. Exhibit M to Plaintiff’s Response in Opposition to Motion for Summary Judgment


                                         CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served by electronic filing on
  August 13, 2019, on all counsel or parties of record on the Service List below.

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  1
   Plaintiffs previously identified in the notice of filing that we would be filing this upon conferring regarding
  confidentiality with Defendant and upon fulfilling the conferral obligations are filing.



                                                      Notice of Filing
                                                       Page 1 of 3
Case 9:17-cv-81225-RNS Document 154 Entered on FLSD Docket 08/13/2019 Page 2 of 3



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                                       Notice of Filing
                                        Page 2 of 3
Case 9:17-cv-81225-RNS Document 154 Entered on FLSD Docket 08/13/2019 Page 3 of 3




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                                          Page 3 of 3
